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 4   Email: billbonham@mylaw.comcastbiz.net
 5   Attorney for: Jaime Rangel
     (Mistakenly identified as Jamie)
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 9
                IN THE UNITED STATES DISTRICT COURT FOR THE
10
11                     EASTERN DISTRICT OF CALIFORNIA

12
13
14   UNITED STATES OF AMERICA,             )       Case No: 2:13-cr-00117 GEB
15                                         )
                        Plaintiff,         )       STIPULATION AND [PROPOSED]
16
                                           )       ORDER TO CONTINUE STATUS
17               v.                        )       CONFERENCE
18                                         )
     DANIEL COVARRUBIAS, et al.            )
19                                         )
20                      Defendants.        )
                                           )
21
22         The defendants, Jamie Rangel and Daniel Covarrubias, by and through their
23
     undersigned counsels, and the United States, through its undersigned counsel,
24
25   hereby agree and request the status conference currently set for Friday, September
26
     13, 2013 at 9:00 am be vacated and continued until Friday, September 27, 2013 at
27
28   9:00 am.



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 1         A continuance is necessary because the government has recently provided
 2   plea offers and the defense needs time to review and discuss them with their
 3
     respective clients.
 4
 5         The parties stipulate that time should be excluded under the Speedy Trial
 6
     Act due to the needs of counsel for continued case preparation and ongoing plea
 7
 8   and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161 (h)(7)(B)(iv).
 9
           I, William E. Bonham, the filing party, have received authorization from
10
11   Barry Rekoon, counsel for defendant Daniel Covarrubias and AUSA Olowoyeye
12
     to sign and submit this stipulation and proposed order on their behalf.
13
14         Accordingly, the defense and the United States agree and stipulate that the

15   status conference for defendants Jamie Rangel and Daniel Covarrubias should be
16
     continued until Friday, September 27, 2013 at 9:00 am. The parties further
17
18   stipulate that the ends of justice served by granting this continuance outweigh the
19
     best interests of the public and defendant in a Speedy Trial. 18 U.S.C. §
20
21   3161(h)(7)(A).
22
     Dated: September 11, 2013
23                                                BENJAMIN B. WAGNER
24                                                United States Attorney
25
                                                  By:/s/ WILLIAM E. BONHAM for
26                                                OLUSERE OLOWOYEYE
27
                                                  Assistant U.S. Attorney

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 1
 2   Dated: September 11, 2013
 3
                                              By:/s/ WILLIAM E. BONHAM for
 4
                                              WILLIAM E. BONHAM
 5                                            Counsel for Defendant
 6                                            Jamie RANGEL
 7   Dated: September 11, 2013
 8
 9
                                              By:/s/ WILLIAM E. BONHAM for
                                              BARRY REKOON
10                                            Counsel for Defendant
11                                            Daniel COVARRUBIAS
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 1                                         ORDER
 2         IT IS SO ORDERED that the status conference for defendants, Jamie
 3
     Rangel and Daniel Covarrubias, currently set for Friday, September 13, 2013 at
 4
 5   9:00 am should be vacated and continued to Friday, September 27, 2013 at 9:00
 6
     am.
 7
 8         I find that the continuance is necessary due to the needs of counsel for
 9
     continued case preparation and plea/sentencing negotiations. Accordingly, time is
10
11   excluded under the Speedy Trial Act, due to needs of counsel for additional case
12
     preparation and ongoing plea/ sentencing negotiations, from September 13, 2013
13
14   up to and including September 27, 2013 pursuant to Local Code T4 and 18 U.S.C.

15   § 3161(h)(7)(B)(iv). I find that the ends of justice served by granting this
16
     continuance outweigh the best interest of the public and defendant in a speedy
17
18   trial. 18 U.S.C. § 3161(h) (7)(A).
19
           Dated: September 12, 2013
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